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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON

NICOLE GILILLAND,

                               Plaintiff,
                                                               6:19-cv-00283-MK
                V.
                                                                   JURY NOTES
SOUTHWESTERN OREGON
COMMUNITY COLLEGE DISTRICT; and
SOUTHWESTERN OREGON
COMMUNITY COLLEGE,

                             Defendants.
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